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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF WISCONSIN


SUSAN LIEBERT, et al.,

            Plaintiffs,

      v.                                   Case No. 23-CV-672

WISCONSIN ELECTIONS
COMMISSION, et al.,

            Defendants.


           COMMISSION DEFENDANTS’ MOTION TO DISMISS


      Defendants Wisconsin Elections Commission; Commissioners Don M.

Millis, Robert F. Spindell, Marge Bostelmann, Ann S. Jacobs, Mark L.

Thomsen, and Joseph J. Czarnezki; and Administrator Meagan Wolfe; by their

attorneys, Wisconsin Attorney General Joshua L. Kaul, and Assistant

Attorneys General Charlotte J. Gibson, Steven C. Kilpatrick, and Karla Z.

Keckhaver, move this Court for an order as follows:

      Pursuant to Fed. R. Civ. P. 12(b)(1) and (6), Commission Defendants

move the Court for an order dismissing the complaint in its entirety. The

grounds for this motion are set forth in the accompanying brief, which is

incorporated by reference herein. In short, the case should be dismissed

because Plaintiffs fail to state a claim under the Voting Rights Act or the Civil
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Rights Act and because the Eleventh Amendment bars Plaintiffs’ claims

against the Commission defendants.

     Dated this 25th day of October 2023.

                                   Respectfully submitted,
                                   JOSHUA L. KAUL
                                   Attorney General of Wisconsin
                                   Electronically signed by:
                                   s/Charlotte Gibson
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